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13

14 UNITED STATES OF AMERICA,                        ) NO. 20 CR-0108 JD
                                                    )     13-CR-0079 JD
15           Plaintiff,                             )
                                                    ) UNITED STATES’ SENTENCING
16      v.                                          ) MEMORANDUM
                                                    )
17 MARK DJANGO HICKS A/K/A KAFANI,                  )
                                                    )
18           Defendant.                             )
                                                    )
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 1      I.      INTRODUCTION

 2           Mark Hicks is a career criminal and an unrepentant fraudster. He has more than a half dozen

 3 felony convictions for a series of increasingly sophisticated fraud schemes. He stands before this Court

 4 now having pled guilty to orchestrating a sprawling two-year loan fraud conspiracy in which he directed

 5 a team of criminals that stole $2 million from banks and lenders in a complex scheme involving stolen

 6 personal information, a web of false emails, phony phone numbers, and a series of fraudulent bank

 7 accounts. He impersonated his victims in over a dozen phone calls with banks, lending institutions, and

 8 gold dealers. Because Hicks was paralyzed and in a wheelchair from a 2013 shooting, he needed people

 9 to help execute the scheme. He turned to his half-brother Demarcus Hicks and co-defendant Dionysius

10 Costello, using them to recruit their “workers,” homeless drug addicts they used to impersonate victims

11 to deceive notaries and at banks. PSR ⁋ 16.

12           Over a two-year period, Hicks and his co-conspirators defrauded nine victims of almost $2

13 million, and would have obtained over $5 million had the financial institutions not caught several of his

14 attempts. Hicks used the stolen funds to buy gold bars and coins, which his co-conspirators sold for

15 cash. Over $400,000 of the illicit gains were recovered from a safe deposit box controlled by Hicks’

16 mother and sister. The rest - over $1.5 million in stolen funds - remains unaccounted for.

17           On March 21, 2022, Hicks pled guilty pursuant to a Fed. R. Crim. P. 11(c)(1)(A) and (c)(1)(B)

18 plea agreement to conspiracy to commit wire fraud, wire fraud, bank fraud, and aggravated identity

19 theft. Dkt. 289. He also admitted to the supervised release violation filed in his 2013 fraud case. United

20 States v. Hicks, 13-CR-0079 JD.

21           The United States respectfully submits this Sentencing Memorandum with a recommendation

22 that the Court sentence defendant Hicks to a term of imprisonment of 110 months, comprised of 100

23 months for the charges in this case, and 10 consecutive months for the violation of his terms of

24 supervised release, all to be followed by three years of supervised release (including 10-months of home

25 confinement), and restitution in the amount of $1,904,988.79. The United States also asks that the Court

26 enter a forfeiture order in accordance with the parties’ agreement and as explained below.
27

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 1      II.      BACKGROUND AND OFFENSE CONDUCT

 2               A. Hicks’ Career in Fraud

 3            Mark Hicks’ criminal history dates back to his juvenile days. At 20, he was arrested for bank

 4 fraud and sentenced six months in jail. PSR ⁋ 57. Less than two years later he was arrested, convicted,

 5 and sentenced to 32 months in prison for Get Credit/Use Other’s ID. PSR ⁋ 58. He was on probation

 6 for that offense when he was again arrested, this time for False Information to Law Enforcement. PSR ⁋

 7 59. One year later, in 2008, he was arrested yet again, this time charged with being a Violent Felon in

 8 Possession of a Firearm. PSR ⁋ 60.

 9            None of these arrests or convictions deterred Hicks, and from 2008 through November 2012,

10 Hicks participated in a complex, multi-defendant scheme to defraud MoneyGram and USAA Federal

11 Savings. PSR ⁋ 61. Employing the same modus operandi he would use in this case, in the USAA and

12 MoneyGram fraud Hicks and his co-conspirators obtained personal identifying information of his

13 victims, made telephone calls to the bank impersonating them, and, working with co-conspirators,

14 obtained fraudulent proceeds from the victims. Id. He was arrested in 2013. Despite this arrest, Hicks

15 continued to engage in sophisticated fraud schemes. In 2014, he was arrested and charged with Grand

16 Theft and Felon/Addict Possessing a Firearm. PSR ⁋ 62. According to the PSR, Hicks would hack into

17 Federal Express’s package tracking system, and was rerouting packages, where he had co-conspirators

18 pick them up. Id. Hicks was observed picking up one of the packages from his co-conspirators. Id. In

19 April 2015, the Honorable Phyllis J. Hamilton sentenced Hicks to 39 months in prison for the

20 MoneyGram and USAA fraud, and ordered restitution of $258,400. PSR ⁋ 61. In 2016, he was

21 sentenced to three years in prison on the state charges. PSR ⁋ 62.

22               B. The Charged Mortgage Loan Fraud Scheme

23            Hicks was released from prison in February 2018, and within months he had hatched the current

24 fraud scheme. By July 2018, Hicks, having obtained personal and financial information for two victims,

25 IT Victim # 1 [J.D.], and IT Victim # 2 [G.C.], set about obtaining fraudulent mortgage loans in the

26 names of both, using fraudulent email accounts, fake Google voice numbers, and fraudulent bank
27

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 1 accounts he and others had created in the victims’ names. PSR ⁋⁋ 24, 25. He applied for a $785,000

 2 mortgage loan in IT Victim #1’s name, and a $250,000 fraudulent loan in IT Victim #2’s name. Id.

 3          As part of this scheme, Hicks began recruiting co-conspirators. Hicks admits that he provided

 4 personal information for IT Victim #2 [G.C.] to co-defendant Dionysus Costello, who then recruited co-

 5 defendants Susan Arreola-Martin and Leif Skorochod, both homeless at the time and addicted to heroin

 6 and methamphetamine, to impersonate victims and sign and notarize fraudulent loan documents. Id.

 7 Costello and Hicks used Skorochod to impersonate IT Victim #2 [G.C.] & IT Victim #3[ N.S.] (and later

 8 Victim #4). Id. Arreola-Martin impersonated IT Victim #2’s wife. Id. Hicks admits that he obtained a

 9 fraudulent driver’s licenses in the name of IT Victim #2 and IT Victim #3, but with Skorochod and

10 Arreola-Martin’s pictures, and using those IDs, along with the fraudulent email, Google Voice, and bank

11 account he and others had created, applied for a $250,000 loan in IT Victim #2’s name. PSR⁋ 25.

12          Hicks would use this modus operandi throughout 2018 and 2019 to continue his fraud scheme.

13 Using a fraudulent identification card in IT Victim #3 [N.S.]’s name, but with co-defendant Skorochod’s

14 picture, Hicks applied for a loan in IT Victim #3’s name, fraudulently obtaining $713,788. PSR ⁋ 26.

15 Hicks spent $6,731 of the funds before the bank discovered the fraud and seized the remaining proceeds.

16 Less than a month later, Hicks orchestrated a $470,609 fraudulent loan in the names of IT Victims #4

17 [D.R] & #5 [C.R], creating fraudulent email, Google voice, and bank accounts in their names. Hicks,

18 through Costello, used Arreola-Martin and Skorochod again, this time to impersonate IT Theft Victim

19 #4 [D.R.] and IT Theft Victim #5 [C.R.]. They directed Arreola-Martin and Skorochod to meet with a

20 notary, using false identifications and victims’ PII that Hicks had obtained. PSR ⁋ 20, 27. That loan

21 was approved, and Hicks admits that he received these fraudulent proceeds, withdrew $94,000 of the

22 funds, and then used additional proceeds to purchase $73,000 in gold coins. PSR ⁋ 27.

23          In 2019, Hicks’ half-brother Demarcus “Smurf” Hicks joined the conspiracy. Demarcus Hicks

24 would work with Costello to obtain fraudulent driver’s licenses using the personal information Hicks

25 provided, and would drive Skorochod and Arreola-Martin to meet with notaries. PSR ⁋ 28, 29, 30.

26 Mark Hicks and co-conspirators obtained four additional fraudulent loans: two using stolen personal
27 information of IT Victim #6 [D.A.T.] (fraudulent loans of $290,806 and $241,602), one using stolen

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 1 personal and financial information and applying for a loan in the names of IT Victims #7 [B.M.] & IT

 2 Victim #8 [L.M.] ($301,582), and one by obtaining financial information and applying for a fraudulent

 3 loan in the name of IT Victim #9 [D.B.] ($964,513).

 4                C. The Proceeds of the Fraud

 5             On multiple occasions, Hicks would contact gold dealers by phone, altering his voice and

 6 impersonating the victims to order gold bars and gold coins, which he had delivered to a trailer home in

 7 Vallejo, California owned by the sister of Demarcus Hicks’ spouse. PSR. ⁋ 30. Hicks ordered $964,000

 8 in gold bars and coins through U.S. Gold Bureau, and at least another $207,500 from Goldline Inc. PSR

 9 ⁋ 28, 30. Hicks also admits to spending parts of the proceeds from the $241,602 loan to Victim #6 via

10 ATM withdrawals and other ATM card purchases. PSR ⁋ 28. \

11             Finally, Demarcus Hicks and co-defendant Tyrone Jones (who remains a fugitive) took at least

12 some of the gold coins and bars and exchanged them for cash at a jewelry store. PSR ⁋ 14. Some of that

13 cash, wrapped in distinctive colored rubber bands, was then deposited into a safe deposit box in the

14 name of Hicks’ mother and sister. PSR ⁋ 14. Law enforcement later searched the safe deposit box and

15 seized $484,920 in cash. Hicks admits that all of it is proceeds of this fraud scheme. PSR ⁋ 31.

16      III.      DISCUSSION

17             A. Sentencing Guidelines Calculation and Restitution

18             The government agrees with Probation’s calculation of the Guidelines, with one exception. The

19 government’s plea agreement includes a two-point reduction for a Global Disposition, pursuant to

20 U.S.S.G. § 5K2.0(a)(2)(B). Probation takes no position on this reduction. Section 5K2.0(a)(2)(B)

21 provides that “[a] departure may be warranted in the exceptional case in which there is present a

22 circumstance that the Commission has not identified in the guidelines but that nevertheless is relevant to

23 determining the appropriate sentence.”

24             In this case, in lieu of proceeding to trial, defendants Mark Hicks, Demarcus Hicks, and

25 Dionysius Costello agreed to jointly plead guilty and to pay full restitution. In other words, the

26 defendants agreed to a so-called “wired plea,” where if any of three defendants balked, the bargained-for
27 benefit they would receive -- a possible two-level departure under the advisory Guidelines -- would

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 1 evaporate. The defendants’ wired agreement obviated the need for a complex and relatively lengthy

 2 trial, and it increased the chances that the victims of the frauds would be fully compensated for their

 3 losses. Such an agreement, while not unprecedented, is uncommon, and thereby satisfies the

 4 requirement under Section 5K2.0(a)(2)(B) that the departure apply in “the exceptional case.” More

 5 importantly, the agreement – if honored by all three defendants -- is a circumstance that the Commission

 6 has not identified in the guidelines that is nevertheless relevant to determining the appropriate sentence.

 7          Specifically, the government believes that the Guidelines calculation for defendant Hicks should

 8 be as follows:

 9          Count Group 1 (Counts One and Eight)

10          a.       Base Offense Level, U.S.S.G. § 2B1.1(a)(2):                                              7

11          b.       Specific offense characteristics under U.S.S.G. Ch. 2:
12
                     Intended Loss in this case was greater than $3,500,000.
13                   U.S.S.G. § 2B1.1(b)(1)(J):                                                          +18

14                   Receipt of $1Million or More From Financial Institutions:
                     U.S.S.G. § 2B1.1(b)(17)(A)                                                              +2
15
                     Possession of 5 or More Means of Identification:
16
                     U.S.S.G. § 2B1.1(b)(11)(C)(ii)                                                          +2
17
            c.       Adjusted Offense Level:                                                                 29
18
            Count Group 2 (Count Twenty)
19
            a.       Base Offense Level, U.S.S.G. § 2B1.1(a)(2):                 24 Months Consecutive Sent.
20
            b.       Total Number of Units:                                                               1.0
21
            c.       Combined Adjusted Offense Level:                                                        29
22
            d.       Acceptance of Responsibility:                                                           -3
23
            e.       Global Disposition U.S.S.G. § 5K2.0(a)(2)(B)                                            -2
24
            f.       Total Adjusted Offense Level:                                                           24
25

26          The government’s understanding, based on the criminal history information in the Presentence
27 Report, is that Hicks is a Criminal History Category VI. PSR ¶ 65. As a result, according to the

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 1 government’s calculation, the Sentencing Guidelines range is 100 to 125 months, in addition to a

 2 mandatory 24-month sentence for his conviction for Count Twenty-One (Aggravated Identity Theft).

 3          In his plea agreement, Hicks agrees to pay restitution in the amount up to $2,082,640. The

 4 government calculates that the total actual loss from this fraud scheme was $1,904,988.79 and asks this

 5 Court to impose this amount in restitution.

 6          B.     Legal Standard

 7          The U.S. Sentencing Guidelines serve as “the starting point and initial benchmark” of any

 8 sentencing process, and are to be kept in mind throughout the process. See United States v. Carty, 520

 9 F.3d 984, 991 (9th Cir. 2008); see also United States v. Kimbrough, 522 U.S. 85, 108 (2007). The

10 overarching goal of sentencing, as set forth by Congress, is for the Court is to “impose a sentence

11 sufficient, but not greater than necessary.” Carty, 520 F.3d at 991. In accomplishing that goal, the

12 Court should consider the factors set forth under 18 U.S.C. § 3553(a), to include:

13                 (1)     the nature and circumstances of the offense and the history and
                           characteristics of the defendant;
14
                   (2)     the need for the sentence imposed to reflect the seriousness of the
15                         offense, to promote respect for the law, and to provide just
                           punishment for the offense;
16
                   (3)     the need for the sentence imposed to afford adequate deterrence to
17                         criminal conduct;

18                 (4)     the need to avoid unwarranted sentence disparities among
                           defendants with similar records who have been found guilty of
19                         similar conduct.

20          C.     Sentencing Recommendation

21                 1.      The nature and circumstance of the offense
22          A fraud of this scope and complexity, involving almost two years of continuous criminal activity,
23 multiple victims and seven charged co-conspirators, clearly justifies a significant sentence from the

24 Court. This was not a one-off, or a single event. Rather, it was a sophisticated and structured and

25 organized criminal cabal. It was a complex fraud scheme driven by Hicks, involving significant stolen

26 personal information on the victims, high-quality fraudulent driver’s licenses, and a host of fraudulent
27 email, bank, and Google voice accounts. Hicks and his cohorts managed to deceive over a half-dozen

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 1 financial institutions into parting with $2 million, then concealed their ill-gotten gains through the

 2 purchase and resale of over a million dollars in gold bars and coins.

 3          Hicks’ fraud led to significant losses to the lending institutions, their title insurance companies,

 4 and to one set of individual victims. In addition to direct financial losses to four of the victim banks,

 5 Fidelity National Title lost $367,388 as part of an insurance claim on the loans to IT Victim #6. See C,

 6 Infra. Placer Title paid out $306,901 related to fraudulent loans in IT Victim #7 [B.M.] & IT Victim #8

 7 [C.M.]’s names. Id. Separately, IT Victim #7 & IT Victim #8 both personally lost $6,412.50 in legal

 8 and other costs related to the fraud in their names. Id. And Hicks fraud had an additional personal

 9 impact on the victims. In a victim impact statement submitted to the Court, IT Victim #1 [J.D.] wrote:

10          I spent countless difficult hours on the phones to contact the entities listed to inform
            them of the fraud and get credit card accounts and loan requests cancelled, and the like.
11          All of this created significant emotional strains to try to say ahead of whomever was
            fraudulently impersonating me.
12

13          IT Victim #6 [D.A.T.], an elderly woman living close to Hicks’ mother’s house in Oakland

14 whose name was used to take out two loans totaling over $550,000, also wrote a victim impact

15 statement, stating in part:

16          The perpetrators had taken a staggering $550,000 loans from my properties. We went
            back and forth for months with the brokerage firm that provided the loan. I was riddled
17          with anxiety throughout the whole process. I felt deeply violated by these people who
            have no idea how hard I have worked to achieve everything that I have. . . . my credit
18          report I had worked so very hard to maintain was irreversibly impacted immensely by
            their actions.
19

20          The Court should weigh the nature of this offense, particularly its complex and long-

21 running nature and the impact on the victims, heavily at sentencing. It is a primary factor in

22 justifying a significant custodial sentence for Hicks.

23          2.      The History and Characteristics of the Defendant

24          Mark Hicks is an unrepentant career criminal. His convictions span back decades,

25 beginning in 1999 when he was only 19. PSR ⁋ 56. He has repeatedly offended throughout his

26 life, undeterred by multiple prison sentences, probation, and parole. He is currently a Criminal
27 History VI, reflecting decades of crime.

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 1          Hicks’ history of fraud shows a defendant committed to a career in crime, undeterred by

 2 prior convictions and repeated terms of imprisonment. Throughout his life, Hicks has

 3 demonstrated a willingness to repeatedly turn to crime - with each turn more sophisticated and

 4 damaging than the last.

 5          Hicks has also provided no accounting for any of the stolen funds, leaving the

 6 government able to trace only the $484,920 in cash seized from a safe deposit box in his mother

 7 and sister’s name as direct proceeds to Hicks from the fraud.

 8          Finally, Hicks shows no regard for his co-conspirators, his victims, or others. He

 9 recruited Demarcus Hicks and Costello, and he oversaw the recruitment of Arreola-Martin,

10 Skorochod, and Pool. While each co-defendant bears responsibility for their role in the offense,

11 Hicks also bears responsibility for their recruitment into the scheme.

12          All of this demands a significant custodial sentence.

13          3.    The need for the sentence imposed to reflect the seriousness of the offense, to
                  promote respect for the law, and to provide just punishment for the offense
14

15          Mark Hicks has failed to reform in any way following his prior convictions. Rather, he

16 appears to learn from his past crimes, with each subsequent iteration of the fraud providing him

17 with tools and experience to incorporate into his next fraud scheme. At age 22, he was arrested

18 for Get Credit/Etc., in violation of California Penal Code Section 530.5, and was sentenced to 32

19 months in prison. PSR ⁋ 58. Hicks committed a new offense while on Probation. Id. In 2008,

20 Hicks was charged with Violent Felon Possessing Firearm, and sentenced to 365 days in jail.

21 PSR ⁋ 60. While on Probation, he began the fraud scheme that would result in federal mail, wire,

22 and bank fraud charges in 2013. PSR ⁋ 61. While that case was being prosecuted, Hicks

23 continued to commit fraud, and was arrested again in 2014 and charged in Oakland Superior

24 Court with another sophisticated fraud scheme involving the rerouting of FedEx packages. PSR

25 ⁋ 62. In that case, when he was arrested, a 40 caliber semi-automatic pistol loaded with nine

26 rounds was found in his residence. Id. For the federal charges, Hicks was sentenced to 39
27 months imprisonment, and released in February 2018. He began to reoffend almost immediately.

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 1          Given this, a significantly longer sentence is warranted to provide specific deterrence

 2 against Hicks’ future offending.

 3          4.     The Need to Protect the Public From Future Crimes of the Defendant

 4          Mark Hicks’ fraud imposed real costs on his victims. His individual victims had their

 5 identities stolen, their credit damaged, and their persons and properties subject to fraudulent

 6 loans taken out in their names. The lender victims also suffered real costs, starting with the

 7 $1,904,988 that they lost as a result of this fraud. The lenders were forced to accept financial

 8 losses themselves; or file insurance claims that had to be paid. As noted above, the individual IT

 9 Theft Victims also suffered significant losses - both financial and emotional.

10          A significant custodial sentence is warranted here in order to protect the public from

11 future crimes of the defendant, which he invariably would commence if he were not incarcerated.

12
            5.     Need to avoid unwarranted sentence disparities among similarly situated
13                 defendants
14
            This case is somewhat unusual in that Hicks, along with Demarcus Hicks and Costello, all
15
     agreed to plead guilty in exchange for, among other things, a two-level departure from the advisory
16
     Guideline range. The best comparison of similarly situated defendants, therefore, would be to the other
17
     defendants in this case. To that end, the chart below lays out the sentences imposed or recommended for
18
     Mark Hicks and each of his codefendants:
19

20        Defendant      Statutes             Guidelines         CHC      Sentence           Sentence
                         of Conviction        Range                       Recommended        Imposed
21    Mark Hicks         18 U.S.C. § 1349  120 to 150            VI       100 months         TBD
                         18 U.S.C. § 1344  months                         (plus 10 months
22                       18 U.S.C. § 1028A (probation)                    for the SVR
                                           100 to 125                     violation)
23                                         months
                                           (parties)
24                                         plus 24 months
                                           consecutive
25    Demarcus           18 U.S.C. § 1349  41 to 51 months       III      33 months          TBD
      Hicks              18 U.S.C. § 1344  (probation)
26                       18 U.S.C. § 1028A 33 to 41 months
                                           (parties)
27                                         plus 24 months
                                           consecutive
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 1    Dionysius         18 U.S.C. § 1349  51 to 63 months        III     41 months          TBD
      Costello          18 U.S.C. § 1344  (probation)
 2                      18 U.S.C. § 1028A 41 to 51 months
                                          (parties)
 3                                        plus 24 months
                                          consecutive
 4    Susan Arreola-    18 U.S.C. § 1349  51 to 63 months        III     78 months          84 months
      Martin            18 U.S.C. § 1344  plus 24 months
 5                      18 U.S.C. § 1028A consecutive
                        21 U.S.C. § 841
 6    Leif Skorochod    18 U.S.C. § 1349  41 to 51 months        III     18 months (with 14.5 months
                        18 U.S.C. § 1344  plus 24 months                 cooperation)
 7                      18 U.S.C. § 1028A consecutive
      Christopher       18 U.S.C. § 1349  37 to 46 months        VI      18 months (with 15 months
 8    Pool              18 U.S.C. § 1344  plus 24 months                 cooperation)
                        18 U.S.C. § 1028A consecutive
 9

10          As the chart demonstrates, a sentence of 100 months for Hicks (plus ten months for his
11 supervised release violation) does not create an unwarranted disparity with his codefendants. Mark

12 Hicks was the mastermind of the scheme, and was involved from the beginning until the end. He also

13 undoubtedly benefitted the most from the fraud. All of the proceeds recovered came from a safe deposit

14 box he controlled. Hicks also has, by far, the most significant criminal history of the defendants.

15          In contrast, Costello and Demarcus Hicks were not the masterminds of the scheme, and played
16 no role in obtaining victim information, creating fraudulent bank, email and phone accounts, or

17 interacting with the lenders and banks. With both Costello and Demarcus Hicks were facilitators who

18 managed the low-level workers, co-defendants Pool, Skorochod, and Arreola-Martin, their involvement

19 in the fraud was far more limited than that of Hicks. As to the other co-defendants, Arreola-Martin’s

20 sentence was driven less by her important but yet low-level role in the fraud and more by the

21 commission of a drug offense while on pretrial release that contributed to the death of her

22 granddaughter. Pool and Skorochod both cooperated with the government. Given these facts, a

23 sentence of 110 months for Mark Hicks is sufficient but not greater then necessary to fulfill the purposes

24 of sentencing, including avoiding an unwarranted disparity with his codefendants.

25          D.      Restitution
26          In the plea agreement, Hicks agreed to pay restitution in an amount no less than $2,082,640.
27 Since the parties reached that agreement, the United States has refined the restitution mount, and asks

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 1 that the Court impose a restitution order in the amount of $1,904,988.79 to the following victims in the

 2 following amounts:

 3

 4        Name of payee                 Restitution        Defendants Responsible
          B.M and L.M.                  $6412.50           Mark Hicks,
 5                                                         Demarcus Hicks,
                                                           Dionysius Costello
 6                                                         Susan Arreola-Martin
                                                           Christopher Pool
 7        California Mortgage           $6019.50           Mark Hicks,
          Advisors                                         Demarcus Hicks,
 8        4304 Redwood Highway                             Dionysius Costello
          Ste 100                                          Leif Skorochod
 9        San Rafael CA 94903
          Coast to Coast Lending        $35,000.00Mark Hicks,
10        Group, Inc.                             Demarcus Hicks,
          27129 Calle Arroyo, Suite               Dionysius Costello
11        1801                                    Susan Arreola-Martin
          San Juan Capistrano CA                  Leif Skorochod
12        MAE Capital Mortgage      $6600.00      Mark Hicks,
          Inc.                                    Demarcus Hicks,
13        4940 Pacific Street Suite A             Dionysius Costello
          Rocklin CA 95677                        Susan Arreola-Martin
14                                                Christopher Pool
          Charger Funding           $6875.00      Mark Hicks,
15        1106 2d Street #411                     Demarcus Hicks,
          Encinitas CA 92024                      Dionysius Costello
16        Fidelity National Title   $367,388.59   Mark Hicks,
          Group                                   Demarcus Hicks,
17        2533 North 117th Avenue                 Dionysius Costello
          Omaha, NE 68164-3679                    Susan Arreola-Martin
18        Placer Title Company      $306,901.94   Mark Hicks,
          7643 North Ingram Avenue                Demarcus Hicks,
19        Fresno, California 93711                Dionysius Costello
                                                  Susan Arreola-Martin
20                                                Christopher Pool
          Real Advantage Title      $94,818.55    Mark Hicks,
21        Insurance Company                       Demarcus Hicks,
          1551 N. Tustin Ave. Suite               Dionysius Costello
22        300                                     Susan Arreola-Martin
          Santa Ana, CA 92705                     Leif Skorochod
23        First American Title      $1,074,972.71 Mark Hicks,
          Insurance Company                       Demarcus Hicks,
24        5 First American Way 2nd                Dionysius Costello
          floor
25        Santa Ana, CA 92707-
          5913
26        Total                     $1,904,988.79
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     U.S. SENTENCING MEMORANDUM                       11
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 1          E.       Forfeiture

 2          Pursuant to the Plea Agreement, United States asks that the Court order that the defendant’s

 3 interest in the following property be forfeited to the United States:

 4               •   Gold bars and coins worth $552,370 (as of February 7, 2022), that were obtained by the
 5                   FBI as part of this investigation on November 19, 2020, from H. Bee Jewelers and are

 6                   now in FBI custody;

 7               •   Cash in the amount of $484,920 seized from safe deposit box number 2814A at Wells
 8                   Fargo Bank as part of this investigation.

 9   IV.     CONCLUSION

10           For the foregoing reasons, the government recommends that the Court sentence defendant Mark

11 Hicks to a sentence of 110 months. This sentence is comprised of 100 months’ imprisonment in this

12 case, to be followed by three years of Supervised Release, along with an order of restitution for

13 $1,904,988.79, and forfeiture of the gold bars and coins, and cash, as specified in the defendant’s plea

14 agreement. The government recommends that the Court impose an additional consecutive sentence of

15 10 months of incarceration, followed by three years of supervised release that includes 10 months of

16 home confinement, for Hicks’ violation of his terms of probation in his 2013 case.

17

18 DATED: August 29, 2022                                        Respectfully submitted,

19

20                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
21

22
                                                                 /s/ David J. Ward
23                                                               DAVID J. WARD
                                                                 BARBARA J. VALLIERE
24                                                               Assistant United States Attorneys

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